          Case 1:17-cv-01043-LY Document 22 Filed 02/27/18 Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

FLOSPORTS, INC.,                               §
     PLAINTIFF                                 §
v.                                             §        CIVIL ACTION NO. 1:17-CV-01043-LY
                                               §
WWN, INC.,                                     §
     DEFENDANT                                 §

            AGREED ORDER OF MUTUAL DISMISSAL WITH PREJUDICE

       On this day, the Court GRANTS this agreed order of mutual dismissal of claims that have

been or could have been asserted between Plaintiff FloSports, Inc. (“FloSports”) on the one hand

and Defendant WWN, Inc. (“WWN”) on the other.

       It is therefore, ORDERED, ADJUDGED AND DECREED, that all claims that have been

or could have been asserted herein between FloSports on the one hand, and WWN on the other,

are dismissed with prejudice to the right to file or re-file, and it is FURTHER ORDERED that

each party bear its own costs, expenses and attorney’s fees related to those claims.



       SIGNED this ______ day of February, 2018.



                                      ___________________________________
                                      LEE YEAKEL
                                      UNITED STATES DISTRICT JUDGE
          Case 1:17-cv-01043-LY Document 22 Filed 02/27/18 Page 2 of 2



AGREED:

RICHARDSON + BURGESS LLP
221 West 6th Street, Suite 900
Austin, Texas 78701-3445
Telephone: (512) 482-8808
Facsimile: (512) 499-8886
Email: kburgess@richardsonburgess.com
Email: dreinhart@richardsonburgess.com

By: /s/ Karen C. Burgess                       .
       Karen C. Burgess
       State Bar No. 00796276


ATTORNEYS FOR PLAINTIFF FLOSPORTS, INC.


REEVES & BRIGHTWELL LLP
221 W 6th Street, Suite 1000
Austin, Texas 78701-3418
Telephone: (512) 334-4500
Facsimile: (512) 334-4492
Email: pschlaud@reevesbrightwell.com
Email: mrodgers@reevesbrightwell.com

By: /s/ Manasi Rodgers                     .
       Paul Schlaud
       State Bar No. 24013469
       Manasi Rodgers
       State Bar No. 24090361

ATTORNEYS FOR DEFENDANT WWN, INC.




AGREED ORDER OF MUTUAL DISMISSAL WITH PREJUDICE                          Page 2 of 2
